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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                          ANDERSON/GREENWOOD DIVISION


Jane Doe, individually                      )
and on behalf of the minor June Doe,        )
                                            )      Civil Action No. 8:10-2365-MGL
                              Plaintiff,    )
                                            )           ORDER OF DISMISSAL
           vs.                              )
                                            )
New Leaf Academy of                         )
North Carolina LLC, et al,                  )
                                            )
                              Defendant.    )
                                            )
                 The Court having been advised by counsel for the parties that the above

action has been settled,

                 IT IS ORDERED that this action is hereby dismissed without costs and without

prejudice. If settlement is not consummated within sixty (60) days, either party may petition

the Court to reopen this action and restore it to the calendar. Rule 60(b)(6), F.R.Civ.P. In

the alternative, to the extent permitted by law, either party may within sixty (60) days petition

the Court to enforce the settlement. Fairfax Countywide Citizens v. Fairfax County, 571

F.2d 1299 (4th Cir. 1978). By agreement of the parties, the court retains jurisdiction to

enforce the settlement agreement. Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 381-

82 (1994).

                 The dismissal hereunder shall be with prejudice if no action is taken under

either alternative within sixty (60) days from the filing date of this order.

                 IT IS SO ORDERED.


                                            s/ Mary G. Lewis
                                            Mary G. Lewis
                                            United States District Judge

March 5, 2014
Spartanburg, South Carolina
